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                                   IN THE
                         UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


UNITED STATES OF AMERICA                       )
                                               )       No. 11 CR 742
          v.                                   )
                                               )       Judge Charles P. Kocoras
GILBERT SPILLER                                )


                                      NOTICE OF APPEAL

       Notice is hereby given that the Defendant in the above named case, GILBERT SPILLER,

by the Federal Defender Program and his attorney, CAROL A. BROOK, hereby appeals to the

United States Court of Appeals for the Seventh Circuit from the final judgment imposed on

February 27, 2013, and entered on the docket on the same.

       Dated this 1st day of March, 2013, at Chicago, Illinois.



                                               Respectfully submitted,



                                               /s/ Carol A. Brook
                                               FEDERAL DEFENDER PROGRAM
                                               Carol A. Brook
                                               Executive Director




CAROL A. BROOK
Federal Defender Program
55 E. Monroe Street
Suite 2800
Chicago, IL 60603
312/621-8300
     Case: 1:11-cr-00742 Document #: 47 Filed: 03/01/13 Page 2 of 2 PageID #:261



                                 CERTIFICATE OF SERVICE

         The undersigned, Carol A. Brook, an attorney with the Federal Defender Program hereby
certifies that in accordance with FED.R.CRIM. P. 49, FED. R. CIV. P5, LR5.5, and the General
Order on Electronic Case Filing (ECF), the following document(s):



                                      NOTICE OF APPEAL



was served pursuant to the district court’s ECF system as to ECF filings, if any, and were sent by
first-class mail/hand delivery on March 1, 2013, to counsel/parties that are non-ECF filers.




                                               /s/ Carol A. Brook
                                               FEDERAL DEFENDER PROGRAM
                                               Carol A. Brook
                                               Executive Director


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